     Case 3:23-cv-00352-WQH-AHG Document 13 Filed 10/24/23 PageID.72 Page 1 of 7




 1 Thane Charman
 2 2270 Boundary St
   San Diego, CA 92104
 3
   Telephone: 800-673-4384
 4 Email: OBEY.TCPA@GMAIL.COM
 5
     Plaintiff, Pro Se
 6
 7
                         UNITED STATES DISTRICT COURT
 8
 9                   SOUTHERN DISTRICT OF CALIFORNIA
10
11    THANE CHARMAN, individual                  Civil Case No.: 3:23-cv-00352-
12                  Plaintiff,                   WQH-AHG
13    v.                                         REQUEST FOR CLERKS ENTRY
14                                               OF DEFAULT
      U.S.A. HOME INSPECTORS, A
15    CALIFORNIA LIMITED
16    LIABLITY COMPANY,. KEITH
      KLINGER, AN INDIVIDUAL;
17
18
                   Defendants,
19
20
21          Plaintiff, THANE CHARMAN, requests that the Clerk of Court enter
22    Default against Defendants U.S.A. HOME INSPECTORS and KEITH
23    KLINGER pursuant to Federal Rule of Civil Procedure 55(a). In support of
24
      this request Plaintiff relies upon the record in this case and the declaration
25
      submitted herein.
26
27
28
                         REQUEST FOR CLERKS ENTRY OF DEFAULT
     Case 3:23-cv-00352-WQH-AHG Document 13 Filed 10/24/23 PageID.73 Page 2 of 7




 1
 2
 3
 4
 5         Dated: October 24, 2023           Respectfully submitted,
 6
 7
 8                                 By: /s/ Thane charman
 9
                                       THANE CHARMAN
                                       Plaintiff, Pro Se
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                      REQUEST FOR CLERKS ENTRY OF DEFAULT
     Case 3:23-cv-00352-WQH-AHG Document 13 Filed 10/24/23 PageID.74 Page 3 of 7




 1 Thane Charman
 2 2270 Boundary St
   San Diego, CA 92104
 3
   Telephone: 800-673-4384
 4 Email: OBEY.TCPA@GMAIL.COM
 5
     Plaintiff, Pro Se
 6
 7
                          UNITED STATES DISTRICT COURT
 8
 9
                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    THANE CHARMAN, individual                 Civil Case No.: 3:23-cv-00352-
12                  Plaintiff,                  WQH-AHG
13    v.                                        DECLARATION OF THANE
14                                              CHARMAN IN SUPPORT OF
      U.S.A. HOME INSPECTORS, A
15                                              REQUEST FOR CLERKS ENTRY
      CALIFORNIA LIMITED
      LIABLITY COMPANY,. KEITH                  OF DEFAULT
16
      KLINGER, AN INDIVIDUAL
17
18
                   Defendants,
19
20
21    Plaintiff, THANE CHARMAN, requests that the Clerk of Court enter Default
22
      against Defendants U.S.A. HOME INSPECTORS and KEITH KLINGER
23
24    pursuant to Federal Rule of Civil Procedure 55(a). In support of this request
25
      Plaintiff relies upon the record in this case and the declaration submitted
26
27    herein.
28
     Case 3:23-cv-00352-WQH-AHG Document 13 Filed 10/24/23 PageID.75 Page 4 of 7




 1    I, THANE CHAMRAN, declare the following in support of Plaintiff’s
 2
      Request for Clerk’s entry of Default against Defendants U.S.A. HOME
 3
 4    INSPECTORS and KEITH KLINGER:
 5
 6       1. I am the Plaintiff, Pro Se, in the above-entitled action. I am
 7
      familiar with the file, records, and pleadings in this matter.
 8
 9       2. An amended complaint was filed on May 21, 2023
10
         3. Summons were issued on May 26, 2023.
11
12
         4. Defendant U.S.A. HOME INSPECTORS, was served with a copy of
13
14          the summons and complaint on June 2, 2023, as reflected on the
15
            docket sheet by the proof of service on July 29, 2023
16
17       5. Defendant KEITH KLINGER, was served with a copy of the
18
19          summons and complaint on June 18, 2023, as reflected on the
20
            docket sheet by the proof of service on July 29, 2023
21
22       6. An answer to the complaint was due by Defendant U.S.A. HOME
23
            INSPECTORS by June 23, 2023.
24
25       7. An answer to the complaint was due by Defendant KEITH KLINGER
26
            by July 9, 2023.
27
28
     Case 3:23-cv-00352-WQH-AHG Document 13 Filed 10/24/23 PageID.76 Page 5 of 7




 1       8. Defendant’s have failed to appear, plead, or otherwise defend
 2
            within the time allowed and therefore, are now in default.
 3
 4       9. Plaintiff requests that the clerk of court enter Default against the
 5
 6
            Defendant.
 7
 8
 9
10   Dated: October 24, 2023            Respectfully submitted,
11
12
13
14
15                                 By: /s/ Thane charman
16
                                        THANE CHARMAN
17
18                                      Plaintiff, Pro Se
19
20
21
22
23
24
25
26
27
28
     Case 3:23-cv-00352-WQH-AHG Document 13 Filed 10/24/23 PageID.77 Page 6 of 7




 1 Thane Charman
 2 2270 Boundary St
   San Diego, CA 92104
 3
   Telephone: 800-673-4384
 4 Email: OBEY.TCPA@GMAIL.COM
 5
     Plaintiff, Pro Se
 6
 7
                         UNITED STATES DISTRICT COURT
 8
 9                   SOUTHERN DISTRICT OF CALIFORNIA
10
11    THANE CHARMAN, individual                Civil Case No.: 3:23-cv-00352-
12                  Plaintiff,                 WQH-AHG
13    v.                                       CERTIFICATE OF SERVICE
14
      U.S.A. HOME INSPECTORS, A
15    CALIFORNIA LIMITED
16    LIABLITY COMPANY,. KEITH
      KLINGER, AN INDIVIDUAL
17
18
                   Defendants,
19
20
21         I hereby certify that on October 24, 2023. I caused a true copy of the
22   foregoing PLAINFIFF’S REQUEST FOR ENTRY OF DEFAULT
23   JUDGEMENT to be served via USPS mail to Defendants U.S.A. HOME
24   INSPECTORS and KEITH KLINGER at 14119 KELLI LN, EL CAJON, CA
25
     92021-2700.
26
27
28
                                 CERTIFICATE OF SERVICE
     Case 3:23-cv-00352-WQH-AHG Document 13 Filed 10/24/23 PageID.78 Page 7 of 7




 1
 2
 3
 4
           Dated: October 24, 2023           respectfully submitted,
 5
 6
 7
                                   By: /s/ Thane charman
 8
                                       THANE CHARMAN
 9                                     Plaintiff, Pro Se
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                               CERTIFICATE OF SERVICE
